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           EXHIBIT 2
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     SOUGHT TO BE SEALED




 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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   From:        Bryan Pope [/0=THEFACEBOOK/OU=EXCHANGE ADMINISTRATIVE GROUP
                (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=BPOPEA0D]
   Sent:        4/19/2020 10:26:05 AM
   To:          Jim Gerber [jimgerber@fb.com]; Marina Shilman [mshilman@fb.com]; Parkin Kent [pkent@fb.com]; Ash Jhaveri
                [ashj@fb.com]; Wesley Su [wesleysu@fb.com]; Vivek Sharma [yks@fb.com]
   Subject:     RE: Facebook Gaming app has been rejected by Apple
   Attachments: i mage004.png; image003.jpg


   Hi all — jfyi, sharing the NYT story that went live this am on the FB Gaming app launch. It includes a call out
   re: Apple. Pasting here/highlighted below: The company tested the Facebook Gaming app in Southeast Asia and
   Latin America over the last 18 months and plans to release it on the Google Phiy storefor ,4ndroid devices.
    Veoionsfor iOS         he released once Apple approves them, racchook said.


   And for viz: we'll announce the app launch tomorrow @8am PT noting that it's available WW on Google Play
   with an iOS version "in the works". Comms plan here.


   https://www.nytimes.com1202010,1/19/technology/facebook-app-
   gaming.html?searchResultPosition—l&tbelid=IwARloOvVt53suTWjK5bmMuXhWRrPbeg-
   CzkHgSXWBwwYG4wrZ8k.DxjsewRI
   Facebook to Introduce an Appfor Gaming
   By Seth Schiesel
   April 19, 2020, 11:00 a,rn. ET

   Video games are surging in, popularity in the pandemic.So Facebook is rolling out an app designed
  for creating and watching live gameplay.




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   Facebook plans to introduce the Facebook Gaming mobile app on Monday,the social network said., in
   its most decisive move into the video game business as people seek entertainment during the
   pandemic.




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   The free app caps several years of investment at Facebook, which said more than 700 million of its 2.5
   billion monthly users already engaged with gaming content. The app is designed largely for creating
   and watching live gameplay, a fast-growing online sector where Facebook is battling Amazon's
   Twitch, Google's YouTubc.-! and. Microsoft's Mixer services.
   With much of the world urged. or ordered to stay home during the coronavirus outbreak, the siôo
   billion global games business is booming. Facebook originally intended,to release the app in June but
   accelerated its plans as the quarantine's scope became clear.

  "Investing in gaming in general has become a priority for us because we see gaming as a form of
  entertainment that really connects people," said Fidji Simo, head of the Facebook app, who reports to
  the Silicon Valley company's chief executive, Mark Zu.ckerberg. "It's entertainment that's notjust a
  f- orm of passive consumption but entertainment that is interactive and brings people together."

   Ms. Simo said the pandemic had prodded the company to speed up other gaming projects, too,
   including a new tournament feature."We're seeing a big rise in gaining during quarantine," she said.
   The company tested the Facebook Gaming app in Southeast Asia and Latin America over the last 18
   months and plans to release it on the Google Play store for Android devices, Versions for iOS will be
   released once Apple approve§11101,Facebook said.


   Facebook has an uneven track record of spinning off separate apps under its brand, such as Facebook
   Camera and Facebook Paper, Some non-Facebook apps it acquired, including instagram and
   WhatsApp, have thrived, however.

   Although Facebook was a top gaming platform a decade ago during the FarmVille era, the company
   hasn't been a dominant force in recent years. In the game streaming market, Facebook is No.3 in
   total hours watched, behind YouTube and Twitch, according to Streamlabs. Viewers currently watch.
   Facebook game streaming with the core Facebook app and on the new app in the developing markets
   where it's already available.
   The new app includes casual games and access to gaming communities, but its fate will depend largely
   on how successfully it entices people to watch and create live game streams. A function called Go Live
   lets users upload streams of other mobile games on the same device by pressing just a few buttons.

   Those streams can then be shared to someone's personal Facebook page, potentially making it much
   easier for people to become amateur streamers.
   By contrast, streaming mobile games -to Twitch, the market leader, generally requires people to install
   more complicated third-paity programs or connect their mobile device to a computer.

  "There are a lot of people who listen to music and say, can imagine myself being a musician,'" said
  Vivek Sharma, Facebook's vice president for gaming."People are watching streams and they're like,
  want to be a streamer,' and with Go Live it's literally just a few clicks and.then live, you're a streamer."

   The app has no advertising within it, for now. Facebook will make money when viewers send "stars,"
   representing sums of money, to streamers, effectively taking a commission. The company said it
   wanted. to build its gaining audience before ad.ding other ways to make money.

   Facebook is focused on mobile and the new app for streaming because the mobile experience is more
   intense than computer viewing, Mr. Sharma said. Twitch is dominated by desktop PC gaming,




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   "We don't want to be the background window in a Chrome tab while someone is doing their
   homework or doing something else," Mr. Sharma said."With mobile, if you have the app open and
   you're using the app, it's in the foreground. You can't do anything else on your mobile phone, and that
   is extremely powerful."

   ###



   From: Jim Gerber <jimgerber@fb.com>
   Sent: Friday, April 17, 2020 5:46 PM
   To: Marina Shilman <mshilman@fb.com>; Parkin Kent <pkent@fb.com>; Bryan Pope <bpope@fb.com>; Ash Jhaveri
   <ashj@fb.com>; Wesley Su <wesleysu@fb.com>; Vivek Sharma <vks@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   I just spoke with Bill at length about the rejection. Summary and options for moving forward below.

   TL;DR
   •         App Review (and Bill) provided no guidance at all about what would need to change for the app to get approved
   •         To try again, would require doing so with no clear guidance and no visibility into likelihood of success/approval
   •         The call did not provide high confidence that another try will be successful (or multiple tries)
   •         Options for moving forward with Apple and without Apple noted below


   Detail:

   Overall, I would not say that the call was encouraging. I tried to draw him out and get him to talk, I came at the issue
   from multiple angles, I floated a couple of trial balloons from both extremes and while he said we were welcome to try
   again, he 1) could not provide any guidance on what it would take to get approved; 2) couldn't provide any examples of
   other similar apps that include game related activities and some access to HTML5 games that have been approved, and
   3)said they haven't allowed a similar type of app to be built.

   Key points:
   •        Drew a clear distinction between allowing some games in MSGR vs approving the Gaming app, saying that MSGR
    as an app had a different purpose than games/gaming (messaging), that it had a simple list of games, no
   'recommendations for you' or anything that made it like a store within a store
   •      Other apps: As noted above I asked if there were any examples of other similar apps which provided HTML5
   games that would serve as a good proxy -- he said "No, we haven't allowed this type of app to be built"
   •         Guidance: Asked for guidance in multiple ways and coming from multiple angles, but he provided none.
   •        No false hope: He tried to position himself and his team as on the side of helping developers, but to one of my
   trial balloons about not wanting to provide false hope to the team, he echo'd the comment saying he "wouldn't want to
   provide false hope." However, when I pushed further and said that "it sounds like this type of app with any games in it
   whatsoever would never be approved", he hesitated and said he "wouldn't want to say never".
   In addition, he made the following points a number of times in different ways:
   •         feels like building a games platform
   •         vehicle for distributing HTML5 games
   •         store within a store
   •         platform for games




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   •       distributing code is not okay (4.7)


   Options:

   It seems that we are faced with 3 options:




   Let us know any thoughts/questions.

   Jim



   From: Marina Shilman <mshilman@fb.com>
   Sent: Friday, April 17, 2020 3:43 PM
   To: Parkin Kent <pkent@fb.com>; Bryan Pope <bpope@fb.com>; Ash Jhaveri <ashj@fb.com>; Wesley Su
   <wesleysu@fb.com>; Jim Gerber <jimgerber@fb.com>; Vivek Sharma <vks@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   I just spoke with Bill again - unfortunately the Board rejected our revised mocks again, stating that they still
   see that HTML5 games is the main purpose of the app. They did acknowledge though that we did a good job
   on the mocks but said it was not enough. They encouraged to keep revising the mocks and are willing to
   review as many as we need to.

   Jim will be speaking to Bill shortly as well and will update this thread with any additional information.


   From: Parkin Kent <pkent@fb.com>
   Sent: Tuesday, April 14, 2020 12:10 PM
   To: Bryan Pope <bpope@fb.com>; Ash Jhaveri <ashj@fb.com>; Marina Shilman <mshilman@fb.com>; Wesley Su
   <wesleysu@fb.com>; Jim Gerber <jimgerber@fb.com>; Vivek Sharma <vks@fb.com>
   Cc: Marina Shilman <mshilman@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   FYI — we let Apple Developer Relations know on our weekly call today that this is still being batted back and forth with
   App Review, but that our launch date for FB Gaming is next week and we're preparing to launch broadly on other
   platforms then and will likely hold back on iOS until we get this resolved.




   FWIW Bryan — I think the reactive comms below look fine.


   From: Bryan Pope <bpope@fb.com>
   Date: Monday, April 13, 2020 at 6:43 PM
   To: Ash Jhaveri <ashj@fb.com>, Marina Shilman <mshilman@fb.com>, Wesley Su <wesleysu@fb.com>, Jim
   Gerber <jimgerber@fb.com>, Parkin Kent <pkent@fb.com>, Vivek Sharma <vks@fb.com>
   Subject: RE: Facebook Gaming app has been rejected by Apple




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   Sounds good on telling Apple this from a comms standpoint. Can I get this team's feedback on the initial RE: Q/A here
   for the app launch (below)? This is the current draft we have for the NYT interview on Wed; Vivek and Fidji will chat on
   the record.

   This roughly matches what we've said in the past. I think we'd ideally want to say publicly/proactively that an iOS version
   is in the works and coming soon. It will be a thing amongst our gaming creator community, and better to address that
   head on.

   Q: Why are you only launching the app on Android, and not i0S? When will iOS be available?
   A: We're working on an iOS version as we speak. Like many Facebook features, we're focused initially on building and
   proving demand on Android. Many of our early soft-launch countries are made up of Android users, so we wanted to
   start there first.

   Q: What about your relationship with Apple? And Apple's tougher stance related to gaming apps and HTML5 stores?
   A: Just like all of our apps, our standalone Facebook Gaming app will go through the required app reviews, and we work
   closely with each app platform to make sure we're in compliance with their policies.


   From: Ash Jhaveri <ashj@fb.com>
   Sent: Monday, April 13, 2020 6:20 PM
   To: Marina Shilman <mshilman@fb.com>; Wesley Su <wesleysu@fb.com>; Jim Gerber <jimgerber@fb.com>; Parkin
   Kent <pkent@fb.com>; Vivek Sharma <vks@fb.com>; Bryan Pope <bpope@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   I think we should let them know verbally that there will be press around this and that we are launching next week with
   our w/o them. This way, they won't be surprised with whatever press we do (Vivek's interview w/ NYT is on Wed)

   Ash


   From: Marina Shilman <mshilman@fb.com>
   Date: Monday, April 13, 2020 at 6:41 PM
   To: Wesley Su <wesleysu@fb.com>, Marc Shedroff <mshedroff@fb.com>, Alexander Lindholm
   <alexlindholm@fb.com>, Parkin Kent <pkent@fb.com>, Ash Jhaveri <ashj@fb.com>, Vivek Sharma
   <vks@fb.com>, Amir Elmeligy <afe@fb.com>, Tina Ho <tinaho@fb.com>, Jim Gerber <jimgerber@fb.com>,
   Daniel Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Bowen Pan <bowenpan@fb.com>,
   Enrico Montana <enricomontana@fb.com>, Zimran Ahmed <zimranahmed@fb.com>, Matt Blanchard
   <mjblanchard@fb.com>, Christine Soriano <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb
   <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Fresh update from Bill - after Trystan received Marc's email, he decided to take our appeal with the latest
   revised mocks back to the Board for another review. He doesn't have any timeline at the moment, but will
   communicate back to us as soon as he has any news.

   I'm keeping fingers crossed and will let you all know the moment we hear from them again.


   From: Wesley Su <wesleysu@fb.com>
   Sent: Monday, April 13, 2020 3:23 PM
   To: Marc Shedroff <mshedroff@fb.com>; Marina Shilman <mshilman@fb.com>; Alexander Lindholm
   <alexlindholm@fb.com>; Parkin Kent <pkent@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Amir
   Elmeligy <afe@fb.com>; Tina Ho <tinaho@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>;



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   Chris Anderson <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>;
   Zimran Ahmed <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>; Christine Soriano
   <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple




   From: Marc Shedroff <mshedroff@fb.com>
   Sent: Monday, April 13, 2020 1:02 PM
   To: Marina Shilman <mshilman@fb.com>; Alexander Lindholm <alexlindholm@fb.com>; Wesley Su
   <wesleysu@fb.com>; Parkin Kent <pkent@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Amir
   Elmeligy <afe@fb.com>; Tina Ho <tinaho@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>;
   Chris Anderson <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>;
   Zimran Ahmed <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>; Christine Soriano
   <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Hi Marina,




   Marc



   From: Marina Shilman <mshilman@fb.com>
   Date: Monday, April 13, 2020 at 12:57 PM
   To: Marc Shedroff <mshedroff@fb.com>, Alexander Lindholm <alexlindholm@fb.com>, Wesley Su
   <wesleysu@fb.com>, Parkin Kent <pkent@fb.com>, Ash Jhaveri <ashj@fb.com>, Vivek Sharma <vks@fb.com>,
   Amir Elmeligy <afe@fb.com>, Tina Ho <tinaho@fb.com>, Jim Gerber <jimgerber@fb.com>, Daniel Levine
   <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Bowen Pan <bowenpan@fb.com>, Enrico Montana
   <enricomontana@fb.com>, Zimran Ahmed <zimranahmed@fb.com>, Matt Blanchard
   <mjblanchard@fb.com>, Christine Soriano <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb
   <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple




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   thanks,
   marina


   From: Marc Shedroff <mshedroff@fb.com>
   Sent: Monday, April 13, 2020 12:46 PM
   To: Alexander Lindholm <alexlindholm@fb.com>; Wesley Su <wesleysu@fb.com>; Marina Shilman
   <mshilman@fb.com>; Parkin Kent <pkent@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Amir
   Elmeligy <afe@fb.com>; Tina Ho <tinaho@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>;
   Chris Anderson <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>;
   Zimran Ahmed <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>; Christine Soriano
   <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Trystan has not responded yet.


   From: Alexander Lindholm <alexlindholm@fb.com>
   Date: Monday, April 13, 2020 at 12:15 PM
   To: Wesley Su <wesleysu@fb.com>, Marina Shilman <mshilman@fb.com>, Marc Shedroff
   <mshedroff@fb.com>, Parkin Kent <pkent@fb.com>, Ash Jhaveri <ashj@fb.com>, Vivek Sharma
   <vks@fb.com>, Amir Elmeligy <afe@fb.com>, Tina Ho <tinaho@fb.com>, Jim Gerber <jimgerber@fb.com>,
   Daniel Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Bowen Pan <bowenpan@fb.com>,
   Enrico Montana <enricomontana@fb.com>, Zimran Ahmed <zimranahmed@fb.com>, Matt Blanchard
   <mjblanchard@fb.com>, Christine Soriano <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb
   <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   A few questions:
   Did we schedule a new call with Trystan to get actionable feedback?
   For that meeting I assume we can just show the new iNAV version?

   Another thought:
   Since we are going live worldwide with Android on 4/20, is there any way we can play this to help us unblocking the iOS
   release? I assume that we will see feedback about releasing a new product on only one of the two major mobile
   platforms.

   Best regards,
   Alex


   From: Wesley Su <wesleysu@fb.com>
   Date: Friday, April 10, 2020 at 2:11 PM
   To: Marina Shilman <mshilman@fb.com>, Marc Shedroff <mshedroff@fb.com>, Alexander Lindholm
   <alexlindholm@fb.com>, Parkin Kent <pkent@fb.com>, Ash Jhaveri <ashj@fb.com>, Vivek Sharma
   <vks@fb.com>, Amir Elmeligy <afe@fb.com>, Tina Ho <tinaho@fb.com>, Jim Gerber <jimgerber@fb.com>,
   Daniel Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Bowen Pan <bowenpan@fb.com>,



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   Enrico Montana <enricomontana@fb.com>, Zimran Ahmed <zimranahmed@fb.com>, Matt Blanchard
   <mjblanchard@fb.com>, Christine Soriano <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb
   <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Thanks Marina. In light of fact that Apple is not giving tactical recommendations we can iterate on, it sounds
   like a call with Trystan is our best bet. How soon can we make that happen?

   From: Marina Shilman <mshilman@fb.com>
   Sent: Friday, April 10, 2020 12:47 PM
   To: Marc Shedroff <mshedroff@fb.com>; Wesley Su <wesleysu@fb.com>; Alexander Lindholm <alexlindholm@fb.com>;
   Parkin Kent <pkent@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Amir Elmeligy <afe@fb.com>;
   Tina Ho <tinaho@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>; Chris Anderson
   <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Zimran Ahmed
   <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>; Christine Soriano <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple


   Hi all,

   We heard back from Bill, who is the deputy to the Head of App Review who joined the escalation call
   with Marc, Vivek Wesley and myself. Unfortunately, despite our removing the gaming tab, changing
   the app description to exclude instant games and limiting games discovery to organic units in the
   gaming feed, notifications and search, the App Review Board has determined that "the primary
   purpose of the app is still the distribution of HTML5 games".

  On the call we pushed for clarity on what we could change to make this viable, and Apple would not
  suggest any paths forward: "this is a complicated case and we don't have any recommendations" and
  "we're happy to continue to review revised mocks you send over." They reiterated that they still feel
  that the main purpose of the app is gameplay and that from their POV the only thing we changed
  was to remove the Play tab from the app. We suspect that part of the challenges may be the name
  of the app; and if we get that feedback we will share ASAP.

   I understand that this feedback is extremely frustrating and not very helpful. We are trying to get Bill
   back on the phone to push for additional clarity on what else we can do; and we can re-escalate to
   Trystan as well after we get some guidance from Bill (or not). We will let everyone on this thread
   know once we have any additional information.

   thanks,
   marina


   From: Marc Shedroff <mshedroff@fb.com>
   Sent: Tuesday, April 7, 2020 11:42 AM
   To: Wesley Su <wesleysu@fb.com>; Marina Shilman <mshilman@fb.com>; Alexander Lindholm
   <alexlindholm@fb.com>; Parkin Kent <pkent@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Amir




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   Elmeligy <afe@fb.com>; Tina Ho <tinaho@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>;
   Chris Anderson <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>;
   Zimran Ahmed <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>; Christine Soriano
   <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple


   Got it; those all feel organic and not "placement" ... hopefully Apple agrees.
   Thanks!



   From: Wesley Su <wesleysu@fb.com>
   Date: Tuesday, April 7, 2020 at 11:25 AM
   To: Marina Shilman <mshilman@fb.com>, Marc Shedroff <mshedroff@fb.com>, Alexander Lindholm
   <alexlindholm@fb.com>, Parkin Kent <pkent@fb.com>, Ash Jhaveri <ashj@fb.com>, Vivek Sharma
   <vks@fb.com>, Amir Elmeligy <afe@fb.com>, Tina Ho <tinaho@fb.com>, Jim Gerber <jimgerber@fb.com>,
   Daniel Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Bowen Pan <bowenpan@fb.com>,
   Enrico Montana <enricomontana@fb.com>, Zimran Ahmed <zimranahmed@fb.com>, Matt Blanchard
   <mjblanchard@fb.com>, Christine Soriano <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb
   <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple


   @Marc Shedroff to your question: there will be a couple ways besides the feed that users will be able to find
   and play games.
   •      Receiving a notification
   •      Searching directly for a game title
   •      Within their gaming profile
   Per Marina's notes, these were acceptable ways for us to allow gameplay, so long as we did not include a
   dedicated 'Play' surface or show any feed units they've rejected.

   From: Wesley Su <wesleysu@fb.com>
   Sent: Tuesday, April 7, 2020 10:44 AM
   To: Marina Shilman <mshilman@fb.com>; Marc Shedroff <mshedroff@fb.com>; Alexander Lindholm
   <alexlindholm@fb.com>; Parkin Kent <pkent@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Amir
   Elmeligy <afe@fb.com>; Tina Ho <tinaho@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>;
   Chris Anderson <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>;
   Zimran Ahmed <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>; Christine Soriano
   <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Thanks Marina. Let me know how I can help- were aiming to launch iOS with Android global launch on 4/20 so
   hopefully we can minimize cycles!

   From: Marina Shilman <mshilman@fb.com>
   Sent: Tuesday, April 7, 2020 9:51 AM




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   To: Marc Shedroff <mshedroff@fb.com>; Wesley Su <wesleysu@fb.com>; Alexander Lindholm <alexlindholm@fb.com>;
   Parkin Kent <pkent@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Amir Elmeligy <afe@fb.com>;
   Tina Ho <tinaho@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>; Chris Anderson
   <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Zimran Ahmed
   <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>; Christine Soriano <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Thanks Wesley, Marc,
   Let me send it to Bill and get a sense from him.

   thanks,
   marina


   From: Marc Shedroff <mshedroff@fb.com>
   Sent: Tuesday, April 7, 2020 8:58 AM
   To: Wesley Su <wesleysu@fb.com>; Marina Shilman <mshilman@fb.com>; Alexander Lindholm
   <alexlindholm@fb.com>; Parkin Kent <pkent@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Amir
   Elmeligy <afe@fb.com>; Tina Ho <tinaho@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>;
   Chris Anderson <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>;
   Zimran Ahmed <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>; Christine Soriano
   <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple


   @Marina Shilman do you want to go to Bill with the mocks and get his directional feedback? I don't think Bill (and
   certainly not Trystan) will give an approval until they see the app, but Marina can get a sense from Bill. The changes
   below do sound exactly like the changes we agreed to make on the call and the Apple team sounded agreeable.


   For clarity — isfinding a game in newsfeed that was shared by a friend and clicking on it now the single way that a user
   will be able to play a game in the app? That was a key part of the conversation IIRC.


   Marc




   From: Wesley Su <wesleysu@fb.com>
   Date: Monday, April 6, 2020 at 7:49 PM
   To: Marina Shilman <mshilman@fb.com>, Marc Shedroff <mshedroff@fb.com>, Alexander Lindholm
   <alexlindholm@fb.com>, Parkin Kent <pkent@fb.com>, Ash Jhaveri <ashj@fb.com>, Vivek Sharma
   <vks@fb.com>, Amir Elmeligy <afe@fb.com>, Tina Ho <tinaho@fb.com>, Jim Gerber <jimgerber@fb.com>,
   Daniel Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Bowen Pan <bowenpan@fb.com>,
   Enrico Montana <enricomontana@fb.com>, Zimran Ahmed <zimranahmed@fb.com>, Matt Blanchard
   <mjblanchard@fb.com>, Christine Soriano <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb
   <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple




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   Hi all,


   We've aligned with Vivek on making the following updates to the iOS App.


   As a reminder, Apple rejected us because HTML5 games appeared to be a primary function of the App. After
   speaking to Trystan, we boiled this rejection down into 3 tactical points:



   l Apple'sfeedback                                      How we addressed

     Existence of a dedicated 'Play' surface in the App   - Removed 'Play' Tab

   - App store metadata highlights 'Play'                 - Revised App store description and assets to not feature 'Play'

    Some feed units appear 'too app store-like'           - Removed ranked feed units, left in approved static feed units



   Next steps / action items:
   1.      Can we get Trystan's agreement on these changes via email? I'd like to include this in our next
   submission to Apple to expedite. @Marc Shedroff, @Marina Shilman, @Parkin Kent, I can work with you all to
   make sure we include the right messaging and nuance around the changes, though I think the above table is
   relatively unambiguous.
   2.      Once we have agreement, @Alexander Lindholm will work on getting a binary over to Apple for final
   review
   3.




   Best,

   Wes


   From: Wesley Su <wesleysu@fb.com>
   Sent: Wednesday, March 25, 2020 2:07 PM
   To: Marina Shilman <mshilman@fb.com>; Marc Shedroff <mshedroff@fb.com>; Alexander Lindholm
   <alexlindholm@fb.com>; Parkin Kent <pkent@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek Sharma <yks@fb.com>; Amir




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   Elmeligy <afe@fb.com>; Tina Ho <tinaho@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>;
   Chris Anderson <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>;
   Zimran Ahmed <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>; Christine Soriano
   <sorianoc@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajy@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   + Christine,

   From: Marina Shilman <mshilman@fb.com>
   Sent: Monday, March 23, 2020 5:36 PM
   To: Marc Shedroff <mshedroff@fb.com>; Alexander Lindholm <alexlindholm@fb.com>; Parkin Kent <pkent@fb.corn>;
   Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Amir Elmeligy <afe@fb.com>; Tina Ho <tinaho@fb.com>;
   Wesley Su <wesleysu@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>; Chris Anderson
   <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Zimran Ahmed
   <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajy@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple


   Hi everyone,


   Marc, Vivek, Wesley and I had a call today with Trystan and Bill from the App Review team on
   possible ways to move forward with the Facebook Gaming app.


   Wesley presented the deck and the video recordings of the app which Trystan found very helpful
   given his limited knowledge of the app. Vivek also provided additional context on the app value prop,
   which is much more focused on community than gameplay, and user engagement information of the
   Android counterpart.


   Below are the the feedback highlights we received from Trystan:

   •       Apple doesn't take factors like user engagement in consideration when they review an app and make
   decisions. They only look at the app binary and its metadata.
   •       The video part of the app made sense to Trystan, no issue there.
   •       If there was no play section in the app, the app would have been approved.
   •       The issue is that App review views the current version of the app to be gameplay-oriented, even if it's
   not the primary use case
   o               Title of the app is "Facebook Gaming"
   o               Marketing is about watch.play.connect
   o               1 of 3 tabs is about game play; removing the Play tab and going from 3 tabs to 2 tabs where
   gameplay would still be a part of the app but found in more "organic" discovery, via other surfaces could
   potentially work.
   •




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  Next steps:
  .      [Wesley + team] Put together couple different mockup alternatives to address Apple's concern on UX,
  and align internally with Vivek, Marc, Marina before sending to Apple
  •      [Wesley + team] Tweak the marketing narrative for FB Gaming to not be as Gameplay-focused. Do not
  need to change the name of the app.
  .      [Marina] Share proposaVwireframes with App Review via DevRel (Arun)
  •


   thanks,
   marina


   From: Marc Shedroff <mshedroff@fb.com>
   Sent: Tuesday, March 17, 2020 5:56 PM
   To: Alexander Lindholm <alexlindholm@fb.com>; Parkin Kent <pkent@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek
   Sharma <vks@fb.com>; Marina Shilman <mshilman@fb.com>; Amir Elmeligy <afe@fb.com>; Tina Ho <tinaho@fb.com>;
   Wesley Su <wesleysu@fb.com>; Jim Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>; Chris Anderson
   <chrisan@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Zimran Ahmed
   <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>; Li-yen
   Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Hi All,




   I'd also like to keep the audience small — maybe no more than 2-3 folks on the PM/Eng side, even if we talk about cloud
   + FB Gaming. Vivek, let me know who you'd like to have join.

   How soon would we be ready to meet?

   Marc



   From: Alexander Lindholm <alexlindholm@fb.com>
   Date: Tuesday, March 17, 2020 at 11:27 AM
   To: Parkin Kent <pkent@fb.com>, Ash Jhaveri <ashj@fb.com>, Vivek Sharma <vks@fb.com>, Marc Shedroff
   <mshedroff@fb.com>, Marina Shilman <mshilman@fb.com>, Amir Elmeligy <afe@fb.com>, Tina Ho
   <tinaho@fb.com>, Wesley Su <wesleysu@fb.com>, Jim Gerber <iimgerber@fb.com>, Daniel Levine
   <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Bowen Pan <bowenpan@fb.com>, Enrico Montana
   <enricomontana@fb.com>, Zimran Ahmed <zimranahmed@fb.com>, Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb
   <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple




   Regarding the call, if it happens, I would love to participate.



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   // Alex

   From: Parkin Kent <pkent@fb.com>
   Date: Tuesday, March 17, 2020 at 8:19 AM
   To: Ash Jhaveri <ashj@fb.com>, Vivek Sharma <vks@fb.com>, Marc Shedroff <mshedroff@fb.com>, Marina
   Shilman <mshilman@fb.com>, Amir Elmeligy <afe@fb.com>, Tina Ho <tinaho@fb.com>, Alexander Lindholm
   <alexlindholm@fb.com>, Wesley Su <wesleysu@fb.com>, Jim Gerber <jimgerber@fb.com>, Daniel Levine
   <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Bowen Pan <bowenpan@fb.com>, Enrico Montana
   <enricomontana@fb.com>, Zimran Ahmed <zimranahmed@fb.com>, Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb
   <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Ash - We did share with them in the appeal that: "On the Android Facebook Gaming app, only 5% of daily users play an
   Instant Game. Comparatively, —70% of daily users watch gaming video. We have no reason to believe usage rates would
   differ meaningfully on i0S."




   From: Ash Jhaveri <ashj@fb.com>
   Date: Tuesday, March 17, 2020 at 7:05 AM
   To: Vivek Sharma <vks@fb.com>, Marc Shedroff <mshedroff@fb.com>, Marina Shilman <mshilman@fb.com>,
   Amir Elmeligy <afe@fb.com>, Tina Ho <tinaho@fb.com>, Alexander Lindholm <alexlindholm@fb.com>,
   Wesley Su <wesleysu@fb.com>, Jim Gerber <jimgerber@fb.com>, Daniel Levine <dlevine@fb.com>, Chris
   Anderson <chrisan@fb.com>, Bowen Pan <bowenpan@fb.com>, Enrico Montana <enricomontana@fb.com>,
   Zimran Ahmed <zimranahmed@fb.com>, Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Parkin Kent <pkent@fb.com>, Pankaj Venugopal
   <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen
   <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Agree- we should take this to Trystan.

   Do we have and did we share with them any stats on the time spent consuming video/interacting with creators vs.
   playing games? I assume we have that from both Android

   Ash

   From: Vivek Sharma <vks@fb.com>
   Date: Monday, March 16, 2020 at 11:40 PM
   To: Marc Shedroff <mshedroff@fb.com>, Marina Shilman <mshilman@fb.com>, Amir Elmeligy <afe@fb.com>,
   Tina Ho <tinaho@fb.com>, Alexander Lindholm <alexlindholm@fb.com>, Ash Jhaveri <ashj@fb.com>, Wesley
   Su <wesleysu@fb.com>, Jim Gerber <jimgerber@fb.com>, Daniel Levine <dlevine@fb.com>, Chris Anderson
   <chrisan@fb.com>, Bowen Pan <bowenpan@fb.com>, Enrico Montana <enricomontana@fb.com>, Zimran
   Ahmed <zimranahmed@fb.com>, Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Parkin Kent <pkent@fb.com>, Pankaj Venugopal
   <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen




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   <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   I'd like to get on a call. If anything just to convey our commitment to the app, Gaming and our motivation to keep
   moving forward one way or another.



   From: Marc Shedroff <mshedroff@fb.com>
   Sent: Monday, March 16, 2020 3:21:30 PM
   To: Marina Shilman <mshilman@fb.com>; Amir Elmeligy <afe@fb.com>; Tina Ho <tinaho@fb.com>; Alexander Lindholm
   <alexlindholm@fb.com>; Vivek Sharma <vks@fb.com>; Ash Jhaveri <ashj@fb.com>; Wesley Su <wesleysu@fb.com>; Jim
   Gerber <jimgerber@fb.com>; Daniel Levine <dlevine@fb.com>; Chris Anderson <chrisan@fb.com>; Bowen Pan
   <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Zimran Ahmed <zimranahmed@fb.com>; Matt
   Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Parkin Kent <pkent@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim
   Lamb <tlamb@fb.com>; Li-yen Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Thanks Marina; disappointing but not surprising.

   Given this we have two options:
   1.       Remove the IG functionality and resubmit for approval (Wesley's rec below)
   2.      Appeal through a VC meeting with their head of app review. This may yield a reversal of their decision (low
   likelihood IMO) but will get us a better understanding of how Apple is going to try to restrict gameplay in our apps going
   forward

   @Vivek Sharma and @Ash Jhaveri how do you want to proceed? We can all get on a call, incl with Legal, if that's helpful.
   Marc



   From: Marina Shilman <mshilman@fb.com>
   Date: Monday, March 16, 2020 at 9:08 AM
   To: Amir Elmeligy <afe@fb.com>, Tina Ho <tinaho@fb.com>, Alexander Lindholm <alexlindholm@fb.com>,
   Vivek Sharma <vks@fb.com>, Ash Jhaveri <ashj@fb.com>, Wesley Su <wesleysu@fb.com>, Jim Gerber
   <jimgerber@fb.com>, Daniel Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Marc Shedroff
   <mshedroff@fb.com>, Bowen Pan <bowenpan@fb.com>, Enrico Montana <enricomontana@fb.com>, Zimran
   Ahmed <zimranahmed@fb.com>, Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Parkin Kent <pkent@fb.com>, Pankaj Venugopal
   <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen
   <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Hi everyone,

   Unfortunately our appeal was rejected. Below is what they said:


   From Apple
           Performance: App Completeness
      4.7 Design: FITML5 Games,Bots, etc.




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   Hello Nicirina.,

   We are writing to let you know the results of your appeal far your app, Facebook Gaming:

   The _App Review Board evaluated your app and determined that the original Rijection feedback is valid. Your app does
   not comply with:

   Design 47

   YOUT app is offering HTI°.4.1.,5 games appears to be the primary purpose ofyour app, which is not appropriate :lbr the App
   Store,

   As it was indicated in the previous communication, we encourage you to review your app concept and incorporate
   different content and features that are in compliance with the App Store Review Guidelines.

   Please be aware, creating an interface for displaying or distributing third-party apps, extensions, or plug,-ins similar to the
   App Stare does not -thllow Guideline 3.2,20 and is not appropriate fix the App Store,

   We hope you will consider making the necessary changes to be in compliance with the App Store Review Guidelines,

   Best regards,
   Taylor
   App Review Board



   As a possible next step, we will try to set up a call with an App Review representative to get additional clarity
   on the rejection. If we manage to do that, who else would like to join the discussion?

   Other than that, we will await the leadership decision on the next steps.

   thanks,
   marina


   From: Amir Elmeligy <afe@fb.com>
   Sent: Thursday, March 12, 2020 3:31 PM
   To: Tina Ho <tinaho@fb.com>; Alexander Lindholm <alexlindholm@fb.com>; Vivek Sharma <vks@fb.com>; Ash Jhaveri
   <ashj@fb.com>; Wesley Su <wesleysu@fb.com>; Jim Gerber <jimgerber@fb.com>; Marina Shilman
   <mshilman@fb.com>; Daniel Levine <dlevine@fb.com>; Chris Anderson <chrisan@fb.com>; Marc Shedroff
   <mshedroff@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Zimran Ahmed
   <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Parkin Kent <pkent@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim
   Lamb <tlamb@fb.com>; Li-yen Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Thanks for the update, Tina! Please let us know if we can provide any additional context.



   Amir Elmeligy
   Product Marketing I Facebook Gaming




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   From: Tina Ho <tinaho@fb.com>
   Sent: Thursday, March 12, 2020 2:59:59 PM
   To: Alexander Lindholm <alexlindholm@fb.com>; Vivek Sharma <vks@fb.com>; Ash Jhaveri <ashj@fb.com>; Wesley Su
   <wesleysu@fb.com>; Jim Gerber <jimgerber@fb.com>; Marina Shilman <mshilman@fb.com>; Amir Elmeligy
   <afe@fb.com>; Daniel Levine <dlevine@fb.com>; Chris Anderson <chrisan@fb.com>; Marc Shedroff
   <mshedroff@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Zimran Ahmed
   <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Parkin Kent <pkent@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim
   Lamb <tlamb@fb.com>; Li-yen Chen <liyen@fb.com>; Kun Chen <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple


   Hi all,


   J ust wanted to provide an update that our Apple POC reached out to me less than 10 minutes ago to grant a particular
   Apple App Store employee access to Facebook Gaming build 200755960.




   Best of luck,


   Tina Ho
   Technical Program Manager I DevInfra
  (650)833-9929


   focabook


   From: Alexander Lindholm <alexlindholm@fb.com>
   Date: Thursday, March 12, 2020 at 2:52 PM
   To: Vivek Sharma <vks@fb.com>, Ash Jhaveri <ashj@fb.com>, Wesley Su <wesleysu@fb.com>, Jim Gerber
   <jimgerber@fb.com>, Marina Shilman <mshilman@fb.com>, Amir Elmeligy <afe@fb.com>, Daniel Levine
   <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Marc Shedroff <mshedroff@fb.com>, Bowen Pan
   <bowenpan@fb.com>, Enrico Montana <enricomontana@fb.com>,Zimran Ahmed <zimranahmed@fb.com>,
   Matt Blanchard <mjblanchard@fb.com>, Tina Ho <tinaho@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Parkin Kent <pkent@fb.com>, Pankaj Venugopal
   <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen
   <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple


   Adding Tina Ho to the thread.




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   From: Vivek Sharma <vks@fb.com>
   Date: Wednesday, March 11, 2020 at 12:26 PM
   To: Ash Jhaveri <ashj@fb.com>, Wesley Su <wesleysu@fb.com>, Jim Gerber <jimgerber@fb.com>, Alexander
   Lindholm <alexlindholm@fb.com>, Marina Shilman <mshilman@fb.com>, Amir Elmeligy <afe@fb.com>,
   Daniel Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Marc Shedroff <mshedroff@fb.com>,
   Bowen Pan <bowenpan@fb.com>, Enrico Montana <enricomontana@fb.com>, Zimran Ahmed
   <zimranahmed@fb.com>, Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Parkin Kent <pkent@fb.com>, Pankaj Venugopal
   <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>, Li-yen Chen <liyen@fb.com>, Kun Chen
   <kunchenguid@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple


   Adding a few more ppl on this. Let's check in on this at eow on latest Apple response.




   From: Ash Jhaveri <ashj@fb.com>
   Sent: Wednesday, March 11, 2020 10:41 AM
   To: Wesley Su; Jim Gerber; Alexander Lindholm; Vivek Sharma; Marina Shilman; Amir Elmeligy; Daniel Levine; Chris
   Anderson; Marc Shedroff; Bowen Pan; Enrico Montana; Zimran Ahmed; Matt Blanchard
   Cc: Stephanie Wang; Parkin Kent; Pankaj Venugopal; Tim Lamb
   Subject: Re: Facebook Gaming app has been rejected by Apple


   I'd like to see what Apple comes back with and they speak with our legal team on options. In general, I agree getting the
   app out is good for us and don't want to delay it without another discussion.

   Ash


   From: Wesley Su <wesleysu@fb.com>
   Date: Wednesday, March 11, 2020 at 1:05 PM
   To: Jim Gerber <jimgerber@fb.com>, Ash Jhaveri <ashj@fb.com>, Alexander Lindholm
   <alexlindholm@fb.com>, Vivek Sharma <vks@fb.com>, Marina Shilman <mshilman@fb.com>, Amir Elmeligy
   <afe@fb.com>, Daniel Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Marc Shedroff
   <mshedroff@fb.com>, Bowen Pan <bowenpan@fb.com>, Enrico Montana <enricomontana@fb.com>, Zimran
   Ahmed <zimranahmed@fb.com>, Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Parkin Kent <pkent@fb.com>, Pankaj Venugopal
   <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple




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   Why we're proposing this approach (vs. holding off on shipping iOS entirely):
   1.      Though less than ideal, we expect the standalone app will still be successful without IG (on the Android
   a pp, only 5% of DAP uses IG, compared to 70% of users watching CV)
   2.      The gaming app is launching worldwide this half. This announcement (and the attendant marketing
   efforts, creator excitement, event promotions) are less powerful if we're not launching both Android and iOS
   3.
                           The guideline we allegedly violated pertains only to HTML5 games

   Does anyone disagree with our proposed approach? Specifically, is anyone advocating for us to postpone (or
   cancel) launching iOS if Apple does not accept IG?

   From: Jim Gerber <jimgerber@fb.com>
   Sent: Sunday, March 8, 2020 11:27 AM
   To: Ash Jhaveri <ashj@fb.com>; Alexander Lindholm <alexlindholm@fb.com>; Vivek Sharma <vks@fb.com>; Marina
   Shilman <mshilman@fb.com>; Amir Elmeligy <afe@fb.com>; Daniel Levine <dlevine@fb.com>; Chris Anderson
   <chrisan@fb.com>; Wesley Su <wesleysu@fb.com>; Marc Shedroff <mshedroff@fb.com>; Bowen Pan
   <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Zimran Ahmed <zimranahmed@fb.com>; Matt
   Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Parkin Kent <pkent@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim
   Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Ash -- I circled up with Parkin and here are the next steps:
   •         wait to hear back from the App Review Board on our appeal(we expect to hear early this week)
   •         if rejected, determine if we want to move forward in submitting the app without instant games
   Not sure who would need to weigh in on that decision, but will circle back with this group.




   From: Ash Jhaveri <ashj@fb.com>
   Sent: Sunday, March 8, 2020 8:47 AM
   To: Alexander Lindholm <alexlindholm@fb.com>; Vivek Sharma <vks@fb.com>; Marina Shilman <mshilman@fb.com>;
   Amir Elmeligy <afe@fb.com>; Daniel Levine <dlevine@fb.com>; Chris Anderson <chrisan@fb.com>; Wesley Su
   <wesleysu@fb.com>; Marc Shedroff <mshedroff@fb.com>; Jim Gerber <jimgerber@fb.com>; Bowen Pan
   <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Zimran Ahmed <zimranahmed@fb.com>; Matt
   Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Parkin Kent <pkent@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim
   Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Thanks.

   @Jim Gerber- what is the next step w/ Apple on this?

   Ash


   From: Alexander Lindholm <alexlindholm@fb.com>
   Date: Friday, March 6, 2020 at 1:45 PM




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   To: Vivek Sharma <vks@fb.com>, Marina Shilman <mshilman@fb.com>, Amir Elmeligy <afe@fb.com>, Daniel
   Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Ash Jhaveri <ashj@fb.com>, Wesley Su
   <wesleysu@fb.com>, Marc Shedroff <mshedroff@fb.com>, Jim Gerber <jimgerber@fb.com>, Bowen Pan
   <bowenpan@fb.com>, Enrico Montana <enricomontana@fb.com>,Zimran Ahmed <zimranahmed@fb.com>,
   Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Parkin Kent <pkent@fb.com>, Pankaj Venugopal
   <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple



   Best regards,
   Alex


   From: Vivek Sharma <vks@fb.com>
   Date: Friday, March 6, 2020 at 7:14 AM
   To: Alexander Lindholm <alexlindholm@fb.com>, Marina Shilman <mshilman@fb.com>, Amir Elmeligy
   <afe@fb.com>, Daniel Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Ash Jhaveri
   <ashj@fb.com>, Wesley Su <wesleysu@fb.com>, Marc Shedroff <mshedroff@fb.com>, Jim Gerber
   <jimgerber@fb.com>, Bowen Pan <bowenpan@fb.com>, Enrico Montana <enricomontana@fb.com>, Zimran
   Ahmed <zimranahmed@fb.com>, Matt Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>, Parkin Kent <pkent@fb.com>, Pankaj Venugopal
   <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple




   From: Alexander Lindholm <alexlindholm@fb.com>
   Sent: Thursday, March 5, 2020 10:54:54 AM
   To: Marina Shilman <mshilman@fb.com>; Amir Elmeligy <afe@fb.com>; Daniel Levine <dlevine@fb.com>; Chris
   Anderson <chrisan@fb.com>; Ash Jhaveri <ashj@fb.com>; Wesley Su <wesleysu@fb.com>; Vivek Sharma
   <vks@fb.com>; Marc Shedroff <mshedroff@fb.com>; Jim Gerber <jimgerber@fb.com>; Bowen Pan
   <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Zimran Ahmed <zimranahmed@fb.com>; Matt
   Blanchard <mjblanchard@fb.com>
   Cc: Stephanie Wang <stephaniew@fb.com>; Parkin Kent <pkent@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim
   Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple




   Best regards,
   Alex


   From: Marina Shilman <mshilman@fb.com>
   Date: Wednesday, March 4, 2020 at 10:54 AM
   To: Amir Elmeligy <afe@fb.com>, Daniel Levine <dlevine@fb.com>, Chris Anderson <chrisan@fb.com>, Ash
   J haveri <ashj@fb.com>, Wesley Su <wesleysu@fb.com>, Vivek Sharma <vks@fb.com>, Marc Shedroff




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   <mshedroff@fb.com>, Jim Gerber <jimgerber@fb.com>, Bowen Pan <bowenpan@fb.com>, Enrico Montana
   <enricomontana@fb.com>, Zimran Ahmed <zimranahmed@fb.com>, Matt Blanchard <mjblanchard@fb.com>
   Cc: Alexander Lindholm <alexlindholm@fb.com>, Stephanie Wang <stephaniew@fb.com>, Parkin Kent
   <pkent@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Thank you everyone once again for your comments, suggestions and additional information. We've folded it all
   in and submitted the appeal to the App Review Board.

   What's next?
   There is no concrete timeline on when we will hear back from Apple on their decision. From what I've seen
   before, the review can take anywhere between one and several weeks.
   I will update this thread as soon as we hear back from them.

   thanks,
   marina


   From: Marina Shilman <mshilman@fb.com>
   Sent: Tuesday, March 3, 2020 2:29 PM
   To: Amir Elmeligy <afe@fb.com>; Daniel Levine <dlevine@fb.com>; Chris Anderson <chrisan@fb.com>; Ash Jhaveri
   <ashj@fb.com>; Wesley Su <wesleysu@fb.com>; Vivek Sharma <vks@fb.com>; Marc Shed roff <mshedroff@fb.com>;
   Jim Gerber <jimgerber@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>;
   Zimran Ahmed <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>
   Cc: Alexander Lindholm <alexlindholm@fb.com>; Stephanie Wang <stephaniew@fb.com>; Parkin Kent
   <pkent@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   Thank you everyone for the comments.

   We've put together the appeal doc -
   https://docs.qoogle.comidocument/d/lvfRcpCAFIqXmcXQsPh5IFIBEPBL6cikFRfp17T 6A5vI/edit#

   Please take a look and feel free to make edits, you all should have edit rights. We are planning to submit the
   appeal to Apple at 5pm PST today, unless anyone objects.

   Also pasting below for convenience

   Following our call yesterday regarding the Facebook Gaming app, we have discussed
   internally, and would like to formally appeal this decision to the App Review Board.


   We understand from our call and the rejection notice in App Store Connect that Apple's
   specific objection is that "the main purpose of the app is code distribution", which would
   violate Guideline 4.7. That premise for rejection - in our view - is inaccurate.


   Facebook Gaming is conceived as a multi-purpose space focused on gamer community
   building, where gaming enthusiasts can connect with one another through gaming-
   oriented groups, discover and engage with talented gamers through gamer streaming,
   learn about new and emerging gaming trends and titles, and - yes - play HTML5 instant
   games. HTML5 games are a piece of the offering here, however HTML5 code
   distribution and driving gameplay for HTML5 games is not the main reason why this app



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   was created, nor is it the primary way users engage with the service on other platforms
   where it has already launched. On the Android Facebook Gaming app, only 5% of daily
   users play an Instant Game. Comparatively, —70% of daily users watch gaming video.
   We have no reason to believe usage rates would differ meaningfully on i0S.


   The team has put a lot of effort into building an experience that we believe provides a
   valuable community hub for gaming and a lot of care was put into observing the
   restrictions that Apple has conveyed to us over the years for the gaming tab inside the
   Facebook app (e.g., games in uncategorized flat lists, no store-like interfaces, etc.)


   We feel like what we've built here is compliant with Guideline 4.7. Given the newly
   provided information we would like to ask that the App Review Board reconsider this
   rejection.



   thanks,
   marina

   From: Amir Elmeligy <afe@fb.com>
   Sent: Tuesday, March 3, 2020 1:30 PM
   To: Daniel Levine <dlevine@fb.com>; Chris Anderson <chrisan@fb.corn>; Marina Shilman <mshilman@fb.com>; Ash
   J haveri <ashj@fb.com>; Wesley Su <wesleysu@fb.com>; Vivek Sharma <vks@fb.com>; Marc Shedroff
   <mshedroff@fb.com>; Jim Gerber <jimgerber@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana
   <enricomontana@fb.com>; Zimran Ahmed <zimranahmed@fb.com>; Matt Blanchard <mjblanchard@fb.com>
   Cc: Alexander Lindholm <alexlindholm@fb.com>; Stephanie Wang <stephaniew@fb.com>; Parkin Kent
   <pkent@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple




   Cheers!

   cc: @Matt Blanchard


   From: Daniel Levine <dlevine@fb.com>
   Date: Tuesday, March 3, 2020 at 9:47 AM
   To: Chris Anderson <chrisan@fb.com>, Marina Shilman <mshilman@fb.com>, Ash Jhaveri <ashj@fb.com>,
   Wesley Su <wesleysu@fb.com>, Vivek Sharma <vks@fb.com>, Marc Shedroff <mshedroff@fb.com>, Jim
   Gerber <jimgerber@fb.com>, Bowen Pan <bowenpan@fb.com>, Enrico Montana <enricomontana@fb.com>,
   Amir Elmeligy <afe@fb.com>, Zimran Ahmed <zimranahmed@fb.com>
   Cc: Alexander Lindholm <alexlindholm@fb.com>, Stephanie Wang <stephaniew@fb.com>, Parkin Kent




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   <pkent@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple




   Thanks.
   - Dan



   From: Chris Anderson <chrisan@fb.com>
   Date: Monday, March 2, 2020 at 6:39 PM
   To: Marina Shilman <mshilman@fb.com>, Ash Jhaveri <ashj@fb.com>, Wesley Su <wesleysu@fb.com>, Vivek
   Sharma <vks@fb.com>, Marc Shedroff <mshedroff@fb.com>, Jim Gerber <jimgerber@fb.com>, Bowen Pan
   <bowenpan@fb.com>, Enrico Montana <enricomontana@fb.com>, Daniel Levine <dlevine@fb.com>, Amir
   Elmeligy <afe@fb.com>,Zimran Ahmed <zimranahmed@fb.com>
   Cc: Alexander Lindholm <alexlindholm@fb.com>, Stephanie Wang <stephaniew@fb.com>, Parkin Kent
   <pkent@fb.com>, Pankaj Venugopal <pankajv@fb.com>, Tim Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple




   From: Marina Shilman <mshilman@fb.com>
   Sent: Monday, March 2, 2020 6:25:18 PM
   To: Ash Jhaveri <ashj@fb.com>; Wesley Su <wesleysu@fb.com>; Vivek Sharma <vks@fb.com>; Marc Shedroff
   <mshedroff@fb.com>; Jim Gerber <jimgerber@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana
   <enricomontana@fb.com>; Daniel Levine <dlevine@fb.com>; Amir Elmeligy <afe@fb.com>; Chris Anderson
   <chrisan@fb.com>; Zimran Ahmed <zimranahmed@fb.com>
   Cc: Alexander Lindholm <alexlindholm@fb.com>; Stephanie Wang <stephaniew@fb.corn>; Parkin Kent
   <pkent@fb.com>; Pankaj Venugopal <pankajv@fb.com>; Tim Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple



                The only message they left in the resolution center on the portal in that regard was this:




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   Guideline 4.7 Design - HTML5 Games,Bets, etc

      noticed that offering IITML5 games itppears to bO the primaty inapose /0111 a//. -which is not apppipriaiejOr the
   App 51;/ .

   Next Meps

   Ife encourage y- ou to review jynir
                                    -    ivy)concept and incoty.)orate tlifferent ctmien./ and„Await-es that arc in compliance
   the zipp Store 1?e-tiell: Guidelines.

   Note: (i'reating an interface far displaying on distiihnting third-parot opps; extencions or phip-ins .cimilar to the App
   Siore aloes not_tallow Guideline $.2.2() and is tti. t appropriatejin. the App




   thanks,
   marina


   From: Ash Jhaveri <ashj@fb.com>
   Sent: Monday, March 2, 2020 5:42 PM
   To: Wesley Su <wesleysu@fb.com>; Marina Shilman <mshilman@fb.com>; Vivek Sharma <vks@fb.com>; Marc Shedroff
   <mshedroff@fb.com>; Jim Gerber <jimgerber@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana
   <enricomontana@fb.com>; Daniel Levine <dlevine@fb.com>; Amir Elmeligy <afe@fb.com>; Chris Anderson
   <chrisan@fb.com>; Zimran Ahmed <zimranahmed@fb.com>
   Cc: Alexander Lindholm <alexlindholm@fb.com>; Stephanie Wang <stephaniew@fb.com>; Parkin Kent
   <pkent@fb.com>; Pankaj Venugopal <pankajv@fb.corn>; Tim Lamb <tlamb@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   This seems off to me as the primary purpose of the app is building and connecting with gaming community and
   consuming gaming video and we should escalate and document as much as we can with them.

   Do we have their rejection in writing?

   Ash



   From: Wesley Su <wesleysu@fb.com>
   Sent: Monday, March 2, 2020 8:25:03 PM
   To: Marina Shilman <mshilman@fb.com>; Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Marc Shedroff
   <mshedroff@fb.com>; Jim Gerber <jimgerber@fb.com>; Vivek Sharma <vks@fb.com>; Bowen Pan
   <bowenpan@fb.com>; Enrico Montana <enricomontana@fb.com>; Daniel Levine <dlevine@fb.com>; Amir Elmeligy
   <afe@fb.com>; Jim Gerber <jimgerber@fb.com>; Chris Anderson <chrisan@fb.com>; Zimran Ahmed
   <zimranahmed@fb.com>
   Cc: Alexander Lindholm <alexlindholm@fb.com>; Stephanie Wang <stephaniew@fb.com>; Parkin Kent <pkent@fb.com>
   Subject: Re: Facebook Gaming app has been rejected by Apple

   cc: Zimran, Chris

   From: Marina Shilman <mshilman@fb.com>
   Sent: Monday, March 2, 2020 3:54 PM
   To: Ash Jhaveri <ashj@fb.com>; Vivek Sharma <vks@fb.com>; Marc Shedroff <mshedroff@fb.com>; Jim Gerber




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   <jimgerber@fb.com>; Vivek Sharma <vks@fb.com>; Bowen Pan <bowenpan@fb.com>; Enrico Montana
   <enricomontana@fb.com>; Daniel Levine <dlevine@fb.com>; Amir Elmeligy <afe@fb.com>; Jim Gerber
   <jimgerber@fb.com>
   Cc: Wesley Su <wesleysu@fb.com>; Alexander Lindholm <alexlindholm@fb.com>; Stephanie Wang
   <stephaniew@fb.com>; Parkin Kent <pkent@fb.com>
   Subject: Facebook Gaming app has been rejected by Apple


   TL;DR Facebook Gaming app has been "categorically" rejected by Apple for violating App Review
   Guidelines.

   Hi all,

   Parkin and I just had a frustrating call with Apple App Review regarding the Facebook Gaming app in
   which they informed us that the app violates their 4,7 Guideline on HTML5 Games. They said that the
   App Review Board had "categorically" rejected the app on the basis that: "You've created a gaming
   platform on top ofour platform and that's not OK'.

   This comes as a surprise given that FB Gaming includes no unique functionality that hasn't already
   been approved in the Games Tab inside the Facebook App. We shared this POV and Apple said this
   standalone gaming app was different because in the App Review Board's estimation "it is very clear
   that the primary purpose of this app is driving distribution of HTML5 games."(vs. Facebook app
   which has a "broader" purpose). Per the guideline, HTML5 games are permitted "... as long as code
   distribution isn't the main purpose ofthe app"

   The irony here is that HTML5 games are only a portion of the content we provide in the app (it's
   certainly not the main purpose of the app). We mentioned this to App Review and they said that
   one of the possible ways to get the app approved might be to remove the ability to play games
   altogether and focus on the other functionality (e.g., gamer streaming videos, groups, etc).

   In speaking with Alex and Wesley, it sounds like we have a Plan B version of the app waiting in the
   wings with no HTML5 games, but wanted to share upwards for visibility in case we think it's worth
   trying to press this further with them.

   thanks,
   marina




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